      Case:17-03283-LTS Doc#:6653-3 Filed:04/30/19 Entered:04/30/19 18:55:32                                                     Desc:
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    DPR MODIFIED PROMESA B2500A (Form 2500A) (06/17)


                                         UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF PUERTO RICO
_____________________________________________                              X
In re:                                                                     :
                                                                           :
THE FINANCIAL OVERSIGHT AND                                                :     PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                          :     Title III
                                                                           :
                        as representative of                               :     Case No. 17-BK-3283 (LTS)
                                                                           :
THE COMMONWEALTH OF PUERTO RICO et al.,                                    :     (Jointly Administered)
                                                                           :
                   Debtors.1                                               :
_____________________________________________                              X
THE SPECIAL CLAIMS COMMITTEE OF THE                                        :
FINANCIAL OVERSIGHT AND MANAGEMENT                                         :
BOARD FOR PUERTO RICO, ACTING BY AND                                       :
THROUGH ITS MEMBERS,                                                       :     Adv. Proc. No. _____________
                                                                           :
                                  and                                      :
                                                                           :
THE OFFICIAL COMMITTEE OF UNSECURED                                        :
CREDITORS OF THE COMMONWEALTH OF                                           :
PUERTO RICO,                                                               :
                                                                           :
                  as co-trustees respectively, of                          :
                                                                           :
THE COMMONWEALTH OF PUERTO RICO,                                           :
                                                                           :
                                          2
                              Plaintiffs                                   :
v.                                                                         :
                                                                           :
R. CORDOVA TRABAJADORES SOCIALES C S P,                                    :
                                                                           :
                  Defendants.                                              :
_____________________________________________                              X



1
      The Debtors in these Title III cases, along with each Debtor’s respective Title III case number listed as a bankruptcy case number
      due to software limitations and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
      Commonwealth of Puerto Rico (Bankruptcy Case No. 17-BK- 3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481), (ii)
      Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-
      3566 (LTS)) (Last Four Digits of Federal Tax ID: 9686), (iii) Puerto Rico Highways and Transportation Authority (“HTA”)
      (Bankruptcy Case No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808), (iv) Puerto Rico Sales Tax Financing
      Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of Federal Tax ID: 8474); and (v) Puerto
      Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780) (Last Four Digits of Federal Tax ID: 3747).
2
      The members of the Special Claims Committee, on the one hand, and the Official Committee of Unsecured Creditors, on the other
      hand, serve as co-trustees and co-plaintiffs in the prosecution of this adversary proceeding as described in that certain Stipulation
      And Agreed Order By And Among Financial Oversight And Management Board, Its Special Claims Committee, And Official
      Committee Of Unsecured Creditors Related To Joint Prosecution Of Debtor Causes Of Action, Case No. 17-BK-3283 (LTS), ECF
      No. 6505-1, which is referenced herein to the extent necessary and appropriate.
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                        SUMMONS IN AN ADVERSARY PROCEEDING
To:     R. Cordova Trabajadores Sociales C S P
        Edif San Alberto
        605 Calle Condado Ofic 611
        San Juan, PR 907
        Attn: Rita Cordova Campos

         YOU ARE SUMMONED and required to file a motion or answer to the complaint which is
attached to this summons with the clerk of the district court within 30 days after the date of issuance of
this summons, except that the United States and its officers and agencies shall file a motion or answer
to the complaint within 35 days. The answer or motion must be served on the plaintiff or plaintiff s
attorney, whose name and address are:
        BROWN RUDNICK LLP                                        ESTRELLA, LLC
        Edward S. Weisfelner, Esq.                               Alberto Estrella, Esq. USDC - PR 209804
        Seven Times Square                                       Kenneth C. Suria, Esq. USDC - PR 213302
        New York, NY 10036                                       P. O. Box 9023596
        Tel. (212) 209-4800                                      San Juan, Puerto Rico 00902–3596
        eweisfelner@brownrudnick.com                             Tel.: (787) 977-5050
                                                                 aestrella@estrellallc.com
        Jeffrey L. Jonas, Esq.                                   ksuria@estrellallc.com
        Sunni P. Beville, Esq.
        One Financial Center
        Boston, MA 02111
        Tel.: (617) 856-8200
        jjonas@brownrudnick.com
        sbeville@brownrudnick.com

        CASILLAS, SANTIAGO & TORRES LLC
        Juan J. Casillas Ayala, Esq. USDC – PR 218312
        Alberto J. E. Añeses Negrón, Esq. USDC – PR 302710
        Israel Fernández Rodríguez, Esq. USDC – PR 225004
        Juan C. Nieves González, Esq. USDC – PR 231707
        Cristina B. Fernández Niggemann, Esq. USDC – PR 306008
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        San Juan, Puerto Rico 00919-5075
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        jcasillas@cstlawpr.com
        aaneses@cstlawpr.com
        ifernandez@cstlawpr.com
        jnieves@cstlawpr.com
        cfernandez@cstlawpr.com

          If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.
         If you fail to respond to this summons, your failure will be deemed to be your consent to entry
of a judgment by the district court and judgment by default may be taken against you for the relief
demanded in the complaint.
                                                         FRANCES RIOS DE MORAN, ESQ.
                                                         CLERK OF COURT



          Date:                                          _________________________________
                                                          Signature of Clerk or Deputy Clerk
   Case:17-03283-LTS Doc#:6653-3 Filed:04/30/19 Entered:04/30/19 18:55:32                         Desc:
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                                  CERTIFICATE OF SERVICE

       I, _______________________ (name), certify that service of this summons and a copy of the
complaint was made _______________________ (date) by:

        □ Mail service: Regular, first class United States mail, postage fully pre-paid, addressed to:


        □ Personal Service: By leaving the process with the defendant or with an officer or agent of
          defendant at:


        □ Residence Service: By leaving the process with the following adult at:


        □ Certified Mail Service on an Insured Depository Institution: By sending the process by
          certified mail addressed to the following officer of the defendant at:


        □ Publication: The defendant was served as follows: [Describe briefly]


        □ State Law: The defendant was served pursuant to the laws of the State of, as follows:
          [Describe briefly]


         If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

        Under penalty of perjury, I declare that the foregoing is true and correct.


        Date ____________             Signature ____________________________


                       Print Name: ___________________________

       Business Address: ____________________________
